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JAN DAVID KAROWSKY
Attorney at Law
A Professional Corporation
California State Bar Number 53854
716 19th Street, Suite 100
Sacramento, CA 95811-1767
(916) 447-1134
(916) 448-0265 (Fax)

Attorney for Defendant
Jimmy Au

                              UNITED STATES DISTRICT COURT

               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA


                                               )   Case No.: Cr.S-08-543-GEB
United States of America,                      )
                                               )
               Plaintiff,                      )   STIPULATION AND ORDER TO ADD A
                                               )   THIRD PARTY CUSTODIAN TO
       vs.                                     )   DEFENDANT JIMMY AU’S PRETRIAL
                                               )
Jimmy Au,                                          RELEASE CONDITIONS
                                               )
                                               )
               Defendant                       )
                                               )   JUDGE: Hon. Magistrate Judge
                                               )          Gregory C. Hollows
                                               )
                                               )
                                               )



       On January 15, 2009 defendant Jimmy Au was ordered released from custody on a

number of conditions, one of which was that his brother, David Au, was to be his third party

custodian. David Au and his wife, Erica Luc, have pledged all of the equity in their home,

$270,000.00, by Deed of Trust, as one of the conditions securing the defendant’s appearance.

Also, Pretrial Services has directed defendant to live at David Au and Erica Luc’s residence,

until further direction. David Au and Erica Luc live at the residence on which the Deed of Trust

has been recorded.
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       There is a bit of a language problem since English is not the first language for either

David or Jimmy Au. David Au did not realize that being a “Third Party Custodian” meant that

he would have to be physically present in the Sacramento area while defendant was at liberty.

As it turns out, David Au had planned to visit relatives in China for the next month, leaving on

January 18, 2009 and returning approximately one month later.

       Erica Luc, who is employed full time, is willing to be the defendant’s third party

custodian in David Au’s absence and defendant Jimmy Au is willing to have her act in that

capacity.

       Therefore, the parties stipulate and agree and Erica Luc should be added as an additional

third party custodian and shall fulfill those responsibilities in David Au’s absence and until and

unless otherwise directed by the assigned Pre-Trial Services Officer.

       I have spoken to the prosecuting AUSA, Michael Beckwith, who has no opposition to

this request. In fact, he has agreed that I may sign his name to this request. Additionally, I have

spoken to Pre-Trial Services Officer Taifa Gaskins, who agrees to have Erica Luc as the third

party custodian in David Au’s absence and until she otherwise directs.




                                         STIPULATION



       Plaintiff, United States, and Defendant, Jimmy Au, through their undersigned counsel,

hereby stipulate and agree and request that the Court order Erica Luc to act as third party

custodian to defendant until or unless the Pre-Trial Services Officer otherwise directs.

IT IS SO STIPULATED.
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DATED:         January 20, 2009                      McGREGOR W. SCOTT
                                                     United States Attorney

                                                     /s/ Michael Beckwith, Esq.
                                                     Assistant U.S. Attorney
                                                     by Jan David Karowsky w/
                                                     Mr. Beckwith’s approval




DATED:         January 20, 2009                      JAN DAVID KAROWSKY
                                                     Attorney at Law
                                                     A Professional Corporation

                                                     /s/ Jan David Karowsky, Esq.

                                              by
                                                     JAN DAVID KAROWSKY
                                                     Attorney for Defendant
                                                     Jimmy Au



                                             ORDER

         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Erica Luc shall be

added as an additional third party custodian to the release order for Jimmy Au and she shall act

as third party custodian until or unless otherwise directed by the assigned Pre-Trial Services

Officer.

Dated: January 20, 2009

                                                /s/ Gregory G. Hollows

                                                     GREGORY G. HOLLOWS
                                                     U.S. Magistrate-Judge
au.ord
